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         EXHIBIT A‐45
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                           District of Columbia
                            Court of Appeals
                                                                    SEP 15 2022
No. 22-BG-059

IN RE JEFFREY B. CLARK

A Member of the Bar of the
District of Columbia Court of Appeals                 DDN2021- 193
Bar Registration No. 445315                           Board Docket No.: 22-BD-39


BEFORE: Glickman and Howard, Associate Judges, and Steadman, Senior Judge.


                                  ORDER
                           (FILED— September 15, 2022)

        This matter began as a sealed motion to enforce a subpoena duces tecum to
assist in the investigation of a potential disciplinary violation, respondent then filed
motions for leave to file his lodged opposition that exceeded the page limits and a
motion to quash that was opposed by Disciplinary Counsel to which respondent filed
a reply; Disciplinary Counsel filed a motion to supplement the record, respondent
filed a response and Disciplinary Counsel filed a reply; Disciplinary Counsel then
filed a motion to unseal the case stating that it had filed a petition and specification
of charges that has been sent to a Hearing Committee (2022 BDN 39) but still seeks
enforcement of the subpoena duces tecum to assist in presenting its case, respondent
opposes and filed a motion to stay the proceedings before the Hearing Committee
pending resolution of this matter that is opposed by Disciplinary Counsel and
respondent filed a reply, and finally respondent has filed a D.C. App. R. 28(k) letter,
it is

      ORDERED that respondent’s motions for leave to file his opposition are
granted. It is

     FURTHER ORDERED that Disciplinary Counsel’s motion to supplement the
motion is granted. It is
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No. 22-BG-59


       FURTHER ORDERED that the motion to unseal is granted and the case
number and caption are changed as reflected in this order. Because Disciplinary
Counsel has now filed a petition and specification of charges pursuant to D.C. Bar
R. XI, § 8(c), D.C. Bar R. XI, § 17(a) no longer applies. Any request for a protective
order must be made to the Hearing Committee pursuant to D.C. Bar R. XI, § 17(d).
It is

      FURTHER ORDERED that respondent’s motion to stay the disciplinary
proceedings is denied. It is

      FURTHER ORDERED that respondent’s motion to quash the subpoena is
denied. D.C. Bar R. XI, § 18(c) requires that all motions to quash a subpoena must
be heard and decided by a Hearing Committee designated by the Executive Attorney.
It is

        FURTHER ORDERED that because disciplinary proceedings have been
initiated the pending subpoena issued pursuant to D.C. Bar R. XI, § 18(b) no longer
applies. D.C. Bar R. XI, § 18(a) provides that once formal disciplinary proceedings
are initiated the subpoena to compel attendance and production of documents may
be issued by either Disciplinary Counsel or a member of the Hearing Committee.
By reaching this resolution we express no opinion on whether the subpoenas was
properly served. Therefore, the motion to compel is denied as moot.



                                  PER CURIAM


Copies e-served to:

Charles Burnham, Esquire

Hamilton Fox, Esquire
Disciplinary Counsel
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No. 22-BG-59


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